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82830 (Form 2830)(04/22)

                                    United States Bankruptcy Court
                                      Southern District of Texas
In re George, Timothy Luke                                                            Case No. ______
                Debtor

                   CHAPTER 13 DEBTOR'S CERTIFICATIONS REGARDING DOMESTIC
                          SUPPORT OBLIGATIONS AND SECTION 522(q)

Part I. Certification Regarding Domestic Support Obligations (check no more than one)

        Pursuant to 11 U.S.C. Section 1328(a), I certify that:

                  I owed no domestic support obligation when I filed my bankruptcy petition, and I have not been
                  required to pay any such obligation since then.

        D         I am or have been required to pay a domestic support obligation. I have paid all such amounts that
                  my chapter 13 plan required me to pay. I have also paid all such amounts that became due
                  between the filing of my bankruptcy petition and today.

Part II. If you checked the second box, you must provide the information below.

        My current address:
                              5922 Euclid Loop Rosenberg, TX 77469

        My current employer and my employer's address:
           ITI Manufacturing
             333 Southwestern Blvd Ste 202 77478

Part Ill. Certification Regarding Section 522(q) (check no more than one)

        Pursuant to 11 U.S.C. Section 1328(h), I certify that:

                  I have not claimed an exemption pursuant to§ 522(b)(3) and state or local law (1) in property that I
                  or a dependent of mine uses as a residence, claims as a homestead, or acquired as a burial plot,
                  as specified in§ 522(p)(1 ), and (2) that exceeds $189,050* in value in the aggregate.

        D         I have claimed an exemption in property pursuant to§ 522(b)(3) and state or local law (1) that I or
                  a dependent of mine uses as a residence, claims as a homestead, or acquired as a burial plot, as
                  specified in§ 522(p)(1 ), and (2) that exceeds $189,050* in value in the aggregate.

* Amounts are subject to adjustment on 4/01/25, and every 3 years thereafter with respect to cases commenced
  on or after the date of adjustment.

Part IV. Debtor's Signature

                 I certify under penalty of perjury that the information provided in these certifications is true and
        correct to the best of my knowledge and belief.



        Executed on      1111512022
                      MM/ DD/ YYYY                    Debtor
